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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
AFGHAN AND IRAQI ALLIES UNDER              )
SERIOUS THREAT BECAUSE OF THEIR            )
FAITHFUL SERVICE TO THE UNITED             )
STATES, ON THEIR OWN AND ON BEHALF )
OF OTHERS SIMILARLY SITUATED,              )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   ) Civil Action No. 1:18-cv-01388-TSC
                                           )
ANTONY BLINKEN, et al.,                    )
                                           )
            Defendants.                    )
__________________________________________)

                                NOTICE OF APPEARANCE

        Defendants, through the undersigned counsel, respectfully asks the Clerk of the Court
enter the appearance of Trial Attorney Vaughn de la Vega Spencer as counsel of record for
Defendants in the above-captioned case.

Dated: May 11, 2022                             Respectfully submitted,
                                                /s/ Vaughn de la Vega Spencer
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